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                  IN THE UNITED STATES DISTRICT COURT FOR
             THE NORTHERN DISTRICT OF TEXAS AMARILLO DIVISION

   UNITED STATES OF AMERICA                          §
   Plaintiff,                                        §
                                                     §
   v.                                                §                      NO. 2:24cr83
                                                     §
   EDELIEL ESANULSANCHAZE                            §
   RAINEY                                            §
   Defendant.                                        §


                                  MOTION TO WITHDRAW



        COMES NOW Antoinette N. Harris, retained counsel of record for Defendant Edeliel

Esanulsanchaze Rainey, and respectfully moves this Honorable Court for leave to withdraw as

counsel of record pursuant to Local Rule 57.12 and in accordance with the Sixth Amendment’s

guarantee of effective assistance of counsel.

        In support of this motion, undersigned counsel states as follows:

        Counsel was privately retained for a clearly defined, limited purpose—to represent Mr.

Rainey during the pretrial phase, encompassing motion practice and plea negotiations. This

representation has concluded with Mr. Rainey’s voluntary and knowing entry of a guilty plea.

        Mr. Rainey is now indigent, unable to retain substitute counsel for sentencing or post-

plea matters. He has submitted documentation supporting a judicial determination of indigency.




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       Mr. Rainey’s prior public defender, Attorney Eric Coats, possesses intimate familiarity

with this case, having met with Mr. Rainey on multiple occasions. His reappointment would

ensure continuity, preserve judicial economy, and respect the defendant’s constitutional rights.

       Continued representation under these conditions—beyond the original scope and without

compensation—raises serious concerns of professional ethics and infringes upon the defendant’s

right to effective and unconflicted legal counsel.

       This motion is not brought for delay, but rather to uphold the integrity of these

proceedings, protect Mr. Rainey’s constitutional rights, and allow for the prompt appointment of

qualified counsel for sentencing.

       To compel undersigned counsel to proceed further under these circumstances would

undermine the interests of justice and due process.

       WHEREFORE, Antoinette N. Harris respectfully requests that this Court:



       a. Grant withdraw as counsel of record for Mr. Rainey;

       b. Direct the Federal Public Defender’s Office or, in the alternative, appoint a qualified

       CJA Panel attorney to represent Mr. Rainey in all remaining proceedings.




                          [SIGNATURE BLOCK ON NEXT PAGE]




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                                            Respectfully submitted,

                                            The Law Office of Antoinette N. Harris, PLLC


                                            __________________________________________
                                            Antoinette N. Harris
                                            Texas Bar No. 241216521
                                            2911 Turtle Creek Blvd, Suite 300
                                            Dallas, Texas 75219
                                            Telephone: 1(833)326-4529
                                            Facsimile: 1(833)326-4529
                                            Email: antoinette@anhlaw.net
                                            Attorney for Edeliel Esanulsanchaze Rainey




                            CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 47.1(b), I, Antoinette N. Harris, certify that on April 22, 2025, I

conferred via email with AUSA Jeff Haag and AUSA Anna Bell regarding the Motion to

Withdraw. The Government takes no position the filing of the aforementioned Motion.




                                 _______________________
                                    Antoinette N. Harris




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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 14, 2025, a true and correct copy of the foregoing was served

via electronic mail and CM/ECF to:


Jeff Haag
Assistant United States Attorney
West Texas Branch Chief
Northern District of Texas, Amarillo Division
500 South Taylor Street, Suite 300
Amarillo, Texas 79101
Email: Jeffrey.Haag@usdoj.gov

Anna Marie Bell
Assistant United States Attorney
Northern District of Texas, Amarillo Division
500 South Taylor Street, Suite 300
Amarillo, Texas 79101
Email: Anna.Bell@usdoj.gov




                                 _______________________
                                    Antoinette N. Harris




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